Case 1:09-cv-00771-TWP-DML Document 165 Filed 01/26/11 Page 1 of 7 PageID #: 3182



                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

  BROOKE N. TAFLINGER,                              )
                                                    )
                    Plaintiff,                      )
                                                    )
          vs.                                       )       Case No. 1:09-cv-00771-TWP-DML
                                                    )
  BRIAN HINDSON, CENTRAL INDIANA                    )
  AQUATICS, UNITED STATES                           )
  SWIMMING, INC., and WESTFIELD-                    )
  WASHINGTON SCHOOL                                 )
  CORPORATION,

                    Defendants.


             ENTRY ON DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

          This matter is before the Court on Defendants’, Westfield-Washington School

  Corporation (the “School”) and United States Swimming, Inc. (“U.S. Swimming”), Motions for

  Summary Judgment (Dkt. 100 and Dkt. 103). This case centers around Brian D. Hindson’s

  (“Hindson”) clandestine filming of Brooke N. Taflinger (“Taflinger” or “Plaintiff”) while

  Hindson was Taflinger’s club swim team instructor in 2000. For the reasons discussed below,

  the Court GRANTS IN PART the School’s Motion for Summary Judgment (Dkt. 100). Because

  the Court concludes that summary judgment for the School is appropriate on Taflinger’s federal

  claims, it declines to address the merits of Taflinger’s state law claims and REMANDS this case

  to state court.

                                 I. SUMMARY JUDGMENT STANDARD

          Federal Rule of Civil Procedure 56 provides that summary judgment is appropriate if “the

  pleadings, depositions, answers to interrogatories, and admissions on file, together with the

  affidavits, if any, show that there is no genuine issue as to any material fact and that the moving
Case 1:09-cv-00771-TWP-DML Document 165 Filed 01/26/11 Page 2 of 7 PageID #: 3183



  party is entitled to a judgment as a matter of law.” Hemsworth v. Quotesmith.Com, Inc., 476 F.3d

  487, 489-90 (7th Cir. 2007). In ruling on a motion for summary judgment, the court reviews

  “the record in the light most favorable to the nonmoving party and draw[s] all reasonable

  inferences in that party’s favor.” Zerante v. DeLuca, 555 F.3d 582, 584 (7th Cir. 2009).

  However, “[a] party who bears the burden of proof on a particular issue may not rest on its

  pleadings, but must affirmatively demonstrate, by specific factual allegations, that there is a

  genuine issue of material fact that requires trial.” Hemsworth, 476 F.3d at 490 (citation omitted).

  “In much the same way that a court is not required to scour the record in search of evidence to

  defeat a motion for summary judgment, nor is it permitted to conduct a paper trial on the merits

  of a claim.” Ritchie v. Glidden Co., 242 F.3d 713, 723 (7th Cir. 2001) (citation and internal

  quotations omitted). Finally, “neither the mere existence of some alleged factual dispute

  between the parties nor the existence of some metaphysical doubts as to the material facts is

  sufficient to defeat a motion for summary judgment.” Chiaramonte v. Fashion Bed Grp., Inc.,

  129 F.3d 391, 395 (7th Cir. 1997) (citations and internal quotations omitted).

                                        II. BACKGROUND

         In 1998, Brian Hindson founded Westfield Area Swimmers, which later became Central

  Indiana Aquatics (referred to throughout as Hindson’s “club team”). Hindson’s club team was

  organized under the auspices of U.S. Swimming, a non-profit corporation comprised of

  thousands of coaches and hundreds of thousands of swimmers who are all voluntary, paying

  members of the organization. U.S. Swimming regulates its swimmers’ technique and times their

  performances in sanctioned competitions to ensure that swimmers are eligible to represent the

  United States at the Olympics.


                                                   2
Case 1:09-cv-00771-TWP-DML Document 165 Filed 01/26/11 Page 3 of 7 PageID #: 3184



         Taflinger first became acquainted with Hindson in 1997 when Taflinger was a

  sophomore at Kokomo high school. Eventually, Taflinger joined Hindson’s club team and

  received a swimming scholarship from the University of Florida. During the summer of 2000,

  the summer after Taflinger’s high school graduation, Hindson’s club team used the School’s

  pool for practices. Hindson had unrestricted access to the School’s pool and facilities. On

  Fridays, the School’s swim coach relied on Hindson to run the School’s afternoon swim practice.

  Hindson also ran the School’s swim practices over Thanksgiving and winter vacations.

  Similarly, the School’s off-season conditioning program was under Hindson’s charge.

         At different times, Hindson offered to let some of his swimmers, including Taflinger, use

  the School’s coaches’ office as a changing room. Unbeknownst to Taflinger, Hindson had

  placed a video camera in a padlocked locker to record footage of Taflinger and others changing

  in the coaches’ office.

         In 2008, the FBI received a report that Hindson had sold a computer on eBay that

  contained pornographic images. After obtaining a search warrant, the FBI searched Hindson’s

  residence and seized video footage of Taflinger changing out of her clothes and into a bathing

  suit. The FBI also seized video footage of other swimmers in various states of undress.

  Eventually, Hindson pled guilty to eleven counts of production of child pornography, four counts

  of distribution of child pornography, and one count of possession of child pornography. He is

  currently incarcerated at the Federal Correctional Institution in Marianna, Florida, where he is

  serving a 400 month sentence with lifetime supervision upon release.

         The Court adds additional facts as needed below.




                                                   3
Case 1:09-cv-00771-TWP-DML Document 165 Filed 01/26/11 Page 4 of 7 PageID #: 3185



                                         III. DISCUSSION

                         Count I: 4th Amendment-42 U.S.C. § 1983 claims

         In her Complaint, Taflinger alleges that the School violated her Fourth Amendment rights

  by turning a blind eye to the substantial risk that Hindson would exploit his privileges at the

  School to satisfy his sexual appetite for young women. It is undisputed and plaintiff has admitted

  in her pleadings that Hindson was not an employee of the school, but instead was a private actor.

   As heightened as that risk may have been, the Fourth Amendment does not apply to searches or

  seizures performed by private individuals. U.S. v. Ginglen, 467 F.3d 1071, 1074 (7th Cir. 2006).

  See also U.S. v. Steiger, 318 F.3d 1039, 1045 (11th Cir. 2003)(“A search by a private person does

  not implicate the Forth amendment unless he acts as an instrument or agent of the government.”)

         If an individual’s purpose in conducting a search was to further his or her own ends, and

  not to assist law enforcement, the Fourth Amendment is not implicated. U.S. v. Shahid, 117 F.3d

  322, 325 (7th Cir. 1997). Taflinger has not suggested that Hindson’s behavior was motivated by

  a desire to assist the School in a law enforcement capacity. Cf. Wallace by Wallace v. Batavia

  School Dist., 68 F.3d 1010, 1013 (7th Cir. 1995) (recognizing that investigatory and

  administrative school searches are subject to Fourth Amendment protection.) Further there is no

  evidence to show that Hindson was acting as an agent of the school when he conducted the

  videotaping and it is undisputed that Hindson’s purpose in videotaping was performed solely to

  further his own private prurient interest. Accordingly, summary judgment is GRANTED for the

  School on Taflinger’s § 1983 claims.

                                  Count V: Title IX Claims

         Taflinger also pled claims for gender discrimination under Title IX of the Education


                                                   4
Case 1:09-cv-00771-TWP-DML Document 165 Filed 01/26/11 Page 5 of 7 PageID #: 3186



  Amendments of 1972 (“Title IX”). Taflinger was never a student at the high school and presents

  only a conclusory statement that “Hindson’s activities were a part of Westfield’s educational

  program.” Taflinger has not alleged that she was subjected to discrimination because of her

  gender “under any education program or activity”of the School. She does however assert that the

  School “should have known”of Hindson’s covert videotaping.

          The School argues that Taflinger has failed to demonstrate that the School had actual

  knowledge of Hindson’s behavior, so as to impose Title IX liability. See Hansen v. Bd. of Trs. of

  Hamilton Southeastern Sch. Corp., 551 F.3d 599 (7th Cir. 2009) (“[A] school district is subject

  to [Title IX liability] only where it is deliberately indifferent to known acts of discrimination or

  harassment.”) (emphasis in original). The Court is persuaded. Taflinger does not seriously

  contest this argument, and there is no reasonable evidence suggesting that the School had actual

  knowledge of Hindson’s clandestine videotaping of swimmers in the School’s coaches’ office.

  The “should have known” argument is unsupported and unpersuasive. Hindson deliberately

  sought to and did in fact conceal his criminal actitivity from everyone, including the school. The

  videotaping of plaintiff was done in 2000 and his actions were not discovered until his computer

  was sold on eBay and the videos disclosed in 2008. Accordingly, summary judgment is

  GRANTED for the School on Taflinger’s Title IX claims.

                Count VIII: Negligent Infliction of Emotional Distress (State claim)

         Plaintiff moved to dismiss the state law claim of negligent infliction of emotional

  distress. This Court will GRANT the motion to dismiss count VIII.

                        Count VII, IX, X, XII and XIII-State Law Claims

         Taflinger’s case was removed to this Court because Taflinger brought the claims


                                                    5
Case 1:09-cv-00771-TWP-DML Document 165 Filed 01/26/11 Page 6 of 7 PageID #: 3187



  discussed above under the Constitution and laws of the United States. See 28 U.S.C. § 1441(b);

  Dkt. No. 1 at 2. No alternative basis exists for this Court’s jurisdiction. See Howell by Goerdt v.

  Tribune Entertainment Co., 106 F.3d 215, 217 (7th Cir. 1997) (Jurisdiction under 28 U.S.C. §

  1332 “require[s] complete diversity of citizenship (meaning that none of the parties on either

  side of the litigation may be a citizen of a state of which a party on the other side is a citizen).”).

  Under the doctrine of pendent jurisdiction, a district court has discretion to remand a properly

  removed case to state court if all federal law claims in the case have been eliminated and only

  supplemental state law claims remain. Carnegie-Mellon Univ. v. Cohill, 484 U.S. 343, 350

  (1988); United Mine Workers of Am. v. Gibbs, 383 U.S. 715, 726 (1966). In order to decide

  whether to exercise jurisdiction over pendent state law claims, a district court should consider

  and weigh the factors of judicial economy, convenience, fairness, and comity. Carnegie-Mellon,

  484 U.S. at 350. However, “the general rule is that, when all federal claims are dismissed before

  trial, the district court should relinquish jurisdiction over pendent state law claims rather than

  resolving them on the merits.” Wright v. Associated Ins. Cos., 29 F.3d 1244, 1252 (7th Cir.

  1994); see also Leister v. Dovetail, Inc., 546 F.3d. 875, 882 (7th Cir. 2008) (“When the federal

  claim in a case drops out before trial, the presumption is that the district judge will relinquish

  jurisdiction over any supplemental claim to the state courts.”). In this case, the Court concludes

  that the factors articulated by the Carnegie-Mellon Court weigh in favor of remanding

  Taflinger’s remaining state law claims to Hamilton County, Indiana.

                                          IV. CONCLUSION

          For the reasons discussed above, the School’s Motion for Summary Judgment (Dkt. 100)

  is GRANTED in part as to the federal claims: Count I- 4th Amendment Violation and Count V-


                                                     6
Case 1:09-cv-00771-TWP-DML Document 165 Filed 01/26/11 Page 7 of 7 PageID #: 3188



  Title IX Violation. The claim for Count VIII, Negligent Infliction of Emotional Distress, is

  DISMISSED. The remaining state law claims in Dkt 100 and the state law claims in Dkt. 103

  (U.S. Swimming, Inc. Motion for Summary Judgment), are REMANDED to the Hamilton

  County Superior Court. All pending motions (Dkt.136 and Dkt. 151) are DENIED AS MOOT.

  This case is hereby REMANDED to the Hamilton County Superior Court. A separate judgment

  shall issue in favor of the School for the claims in Counts I, V and VIII.

         SO ORDERED: 01/26/2011

                                                          ________________________
                                                          Hon. Tanya Walton Pratt, Judge
                                                          United States District Court
                                                          Southern District of Indiana
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                                                   7
